                                                                                 FILE:
                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TXAS                           SEP 2
                                                                                              2023
                                   SAN ANTONIO DIVISION
                                                                                             'ii
 UNITED STATES OF AMERICA                          §
 Plaintiff                                         §
                                                   §     No        SA 22-CR-00366(2)-OLG
H's.                                               §
                                                   §
 (2)CHRISTIANMARTINEZ                              §
 Defendani,                                        §

                                                                   t                :   ::
                         MEMORANDUM AND RECOMMENDATION
              Pursuant to the referral by the district judge, thó defendant, defendant's attorney and

 the attorney for the government appeared before the undersigned magistrate judge on

 September 27, 2023, for the purpose of defendant's entr' of a plea of guilty. At that time

 defendant entered a guilty plea as stated in the record. !l'he magistrate judge addressed the

 defendant personally in open court and, after assuring that defendant was competent to proceed

 and bad consented to pleading guilty before a magistrate Judge, admonished the defendant in

 accordance with Rule 11, Fed.R.Crim.P., of the nature of the charge, the possible penalties,

 defendant's constitutional and statutory rights, and the consequences of pleading guilty.

 Defendant acknowledged understanding these adrnonisiments The undersigned also addressed

 defendant concerning the voluntariness of the guilty plea. linally, the undersigned assured the

 existence of a factual basis for the guilty plea. Based upon the answers to the court's questions

 from defendant and from counsel, the magistrate judge rnaks the following fmdings:


              1.     the defendant is competent to stand trial;!

              2.     the defendant has consented to plead guiity before a magistrate judge;

                     the defendant fully understands the natur of the. cbargandthe.penalties;
                             !,




                    4.              the defendant understands defendant's ccnstitutional and statutoly rights and
                                    desires to waive them;

                    5               the defendant's plea is freely, knowingly nd voluntarily made, and

                    6               there is a factual basis for the plea

                                                                 RECOMMENDATIO1

                    It is,. therefore, the recommendation of the Maistrate Judge that the guilty plea be

        ACCEPTED and that a judgment of guilt be entered aga1ns defendant

                                                              Instructions for Service and
                                                            Notice of Right to Appeal / Cbject

                    The Unitd Statçs District Clerk shall serve                            copy of this Memorandum and

        Recommendation on all parties either (1) electronic transmittal to all parties represented by an

        attorney registered as a Filing User with the Clerk of Court pursuant to the Court's Procedural

        Rules for Electronic Filing in Civil and Criminal Cases; o (2):.by certified mail,: return, receipt

        requested, to any party not 'rópresented by an attorney regitered as a Filing User. Pursuant to

        Title 28 U.S.C. Section 636 (b) (1) and Rule 59(b)(2), FedJR.Crim.P., any party who desires to

        object to 'this: report must serve and file written objections to the Memorandum and

        Recommendation within 14 days after being served with! 1' copy unless this tine period is
                                                   I




        modified by the district court. A party filing objections must specifically identi1r those findings,

        conclusions or recommendations to which objections are being made and' the basis for such

        objections; the district court need not consider frivolous, coiclusive or general objections. Such
                                                                                i.           ..
       'party shall file the objections with the clerk of court, and serve the objections on all other

        parties and the magistrate fudge. A party's failure to filç written objections to the proposed
                                  It.                  I:                                        .   1   :   .




        findings, conclusions and recommendations contained in thi report shall bar the party from a de
I'..     '!'''           I    I                .


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                                        'II.                .                          I
                                                                                  106 S.Ct. 466,
novo determination by,the district court. See Thomas v. Ar,, 474 U.S. 140, 150,

472, 88 L Ed 2d 435 (1985) Additionally, any failure to fiL written objections to the
                                                                                      proposed

fmdings, conclusions and recommendation contained m this Memorandum and Recommendation

within 14 days after being served with acopy shall bar the aggrived party, ecept upon    ruids

of plain error, from attacking on appeal the unobjected-to proposed factual fmdings and legal

conclusion    accepted by the district court     Douglass v. United Services Automobile
II




AssocIation, 79 F 3d 1415, 1428-29(5th Cir 1996)



             SIGNED on September 27, 2023.




                                               UNITED STATES MAGISTRATE JUDGE



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